Case 3:20-cv-00319-DJH-RSE Document 1 Filed 05/05/20 Page 1 of 3 PageID #: 1




                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE

 JESSICA BLAKE                                     )
                                                   )
                  PLAINTIFF                        )
                                                   )
 v.                                                )
                                                     CIVIL ACTION NO. ______________________
                                                                       3:20-cv-319-DJH
                                                   )
 LIFE INSURANCE COMPANY OF NORTH                   )
 AMERICA                                           )
                                                   )
                  DEFENDANT                        )



                            DEFENDANT’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant Life Insurance Company

of North America, by counsel, hereby files this Notice of Removal to the United States District

Court for the Western District of Kentucky, at Louisville, and states as follows:

        1.       On or about April 3, 2020, the Complaint in Case No. 20-CI-00523 was filed in

Hardin Circuit Court by Plaintiff against Defendant. The Summons, along with the Complaint,

was served by Secretary of State on or about April 8, 2020 on Defendant and the return of service

was filed on or about April 20, 2020. A copy of the Summons and Complaint, is attached hereto

as Exhibit A and constitutes all process, pleadings and orders served to date in this action.

        2.       This Notice of Removal is filed within thirty (30) days after receipt of a copy of the

Complaint and Summons in this action and Plaintiff is estopped from seeking remand of this matter

on this basis.

        3.       This action is of a civil nature arising from Plaintiff’s claim for an alleged breach

of contract and involving a claim for benefits pursuant to an employee welfare benefit plan,
Case 3:20-cv-00319-DJH-RSE Document 1 Filed 05/05/20 Page 2 of 3 PageID #: 2




specifically a Group Accident Policy, established by Plaintiff’s employer. Plaintiff claims that she

is entitled to accidental death benefits under the plan.

                               FEDERAL QUESTION JURISDICTION

       4.      This is an action over which this Court has original federal question jurisdiction

under 28 U.S.C. § 1331 and 29 U.S.C. §§ 1132 and 1144, inasmuch as the Complaint claims

accidental death benefits provided by an employee welfare benefit plan, established or maintained

by Plaintiff’s employer and regulated by the Employee Retirement Income Security Act of 1974,

as amended (“ERISA”), 29 U.S.C. §§ 1001, et seq. In the Complaint, Plaintiff explicitly seeks

benefits provided under an employee welfare benefit plan, including group insurance policies OK

970307 and OK 980417, which insures accidental death benefits under an employee benefit plan

established and maintained by Plaintiff’s husband’s employer. (Cmplt., ¶¶ 4, 11).

       5.      ERISA preempts Plaintiff’s state law claims and causes of action and provides

exclusive federal remedies for resolution of claims relating to plan benefits by plan participants

and beneficiaries, 29 U.S.C. §§ 1132 and 1144. Therefore, Plaintiff’s claims are removable to this

Court pursuant to 29 U.S.C. § 1441 as an action founded upon a claim or right arising out of the

laws of the United States. An action relating to benefits provided by an ERISA plan is properly

removable, even if the defense of ERISA preemption does not appear on the face of the Complaint.

See Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 62-63 (1987).

                       DIVERSITY OF CITIZENSHIP JURISDICTION

       6.      LINA is a Pennsylvania corporation with its principal place of business in

Philadelphia, Pennsylvania, outside the Commonwealth of Kentucky.

       7.      Plaintiff is a citizen and resident of Kentucky. (Cmplt. ¶1).




                                                  2
Case 3:20-cv-00319-DJH-RSE Document 1 Filed 05/05/20 Page 3 of 3 PageID #: 3




        8.     The past-due benefits, interest, and attorneys’ fees sought by Plaintiff exceed

$75,000, thus the amount in controversy exceeds the $75,000 jurisdictional threshold for diversity

jurisdiction. 28 U.S.C. § 1332(a).



        WHEREFORE, Defendant, Life Insurance Company of North America hereby gives

notice of this removal from the Hardin Circuit Court to the United States District Court for

the Western District of Kentucky, at Louisville.

                                                     Respectfully submitted,

                                             /s/Mitzi D. Wyrick
                                             Mitzi D. Wyrick
                                             David A. Calhoun
                                             WYATT, TARRANT & COMBS, LLP
                                             400 West Market Street, Suite 2000
                                             Louisville, Kentucky 40202-2898
                                             (502) 589-5235
                                             (502) 589-0309
                                             dcalhoun@wyattfirm.com
                                             mitziwyrick@wyattfirm.com
                                             Counsel for Defendant, Life Insurance
                                             Company of North America
                                CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2020, I electronically filed the foregoing with the clerk of
the court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

 Michael K. Nisbet
 Trey Shoemaker
 Karl Truman Law Office, LLC
 420 Wall Street
 Jeffersonville, IN 47130
 MikeNisbet@TRumanlaw.com
 Counsel for Plaintiff
                                             /s/ Mitzi D. Wyrick
                                             Mitzi D. Wyrick



100277573.1



                                                3
